                           United States District Court
                                 EASTERN DISTRICT OF TEXAS
                                     SHERMAN DIVISION


HOPE HALLEEN, INDIVIDUALLY; AND                    §
DONNA MANER, INDIVIDUALLY AND                      §
ON BEHALF OF ALL OTHERS                            §   Civil Action No. 4:16-CV-00055
SIMILARLY SITUATED                                 §   Judge Mazzant
                                                   §
v.                                                 §
                                                   §
BELK, INC.                                         §
                         MEMORANDUM OPINION AND ORDER

       Pending before the Court is Belk Inc.’s Scheduling Proposal (Dkt. #74) and Plaintiffs’

Notice of Filing Scheduling Report (Dkt. #76). After considering the pleadings, the Court finds

that the scheduling proposals are granted in part and denied in part.

                                        BACKGROUND

       On January 25, 2016, Plaintiffs filed an Amended Complaint alleging that Defendant’s

Sales Team Managers were misclassified as “exempt” under the Fair Labor Standards Act of 1938

(“FLSA”), 29 U.S.C. § 201 et seq., and were not paid overtime for hours worked in excess of forty

hours (Dkt. #2). On September 21, 2016, the Court conditionally certified the class pursuant to

Section 16(b) of the FLSA (Dkt. #44). The class includes Sales Team Managers who worked at

any of Defendant’s locations at any time during the three-year period preceding January 19, 2016.

Plaintiff sent Notice and Consent forms to approximately 1,793 current and former Sales Team

Managers. Approximately 363 Sales Team Managers opted into the class.

       The parties dispute the scope of permissible discovery in this conditionally certified

collective action. On February 3, 2017, Defendant submitted a scheduling proposal seeking the

right to obtain full discovery, including full written discovery and depositions, of one opt-in

Plaintiff from each retail location having employed an opt-in Plaintiff (Dkts. #74, #75). This would
amount to full discovery of 179 opt-in plaintiffs. Defendant requests that the depositions last up

to seven hours.

        On February 3, Plaintiffs filed a scheduling report proposing that Defendant take

representative discovery of 5% of the opt-in plaintiffs (Dkt. #76). Plaintiffs propose that nineteen

randomly selected opt-in plaintiffs participate in written discovery. Plaintiffs propose that ten of

these nineteen opt-in plaintiffs participate in depositions lasting up to four hours. Plaintiffs further

seek the ability to take ten depositions lasting up to seven hours per witness, including Rule

30(b)(6) witnesses. Plaintiffs also seek to take one supervisor deposition for every deposition of

an opt-in Plaintiff selected by Defendant.

        On February 16, 2017, Defendant filed a response (Dkt. #79). On February 27, Plaintiffs

filed a reply (Dkt. #83).

                                       LEGAL STANDARD

        The Fifth Circuit has not explicitly addressed the permissible scope of discovery in FLSA

collective actions following conditional certification.         However, “the Eastern District of

Texas . . . is one of many jurisdictions that has ordered limited, representative discovery of the

named plaintiffs and opt-in plaintiffs in FLSA actions.” Nelson v. Am. Standard, Inc., No. 208-

CV-390-TJW-CE, 2009 WL 4730166, at *3 (E.D. Tex. Dec. 4, 2009). “[L]imiting discovery in a

FLSA action to a relevant sample minimizes the burden imposed on the plaintiffs while affording

the defendant a reasonable opportunity to explore, discover and establish an evidentiary basis for

its defenses.” Id. (citations and internal quotations omitted). Trial courts are afforded broad

discretion in “balancing the interests of both sides while looking for a discovery plan that

reasonably fits the particular demands of the case.” Winkler v. Sunbelt Rentals, Inc., No. 3:12-

CV-3789-B, 2014 WL 12596498, at *4 (N.D. Tex. July 10, 2014). See also Cranney v. Carriage



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Servs., 2008 U.S. Dist. LEXIS 113606, *15, 2008 WL 2457912 (D. Nev. June 16, 2008)

(“Permitting the full scope of discovery authorized by the Federal Rules of Civil Procedure would

undermine the purpose of conditionally certifying a collective action and would be unreasonably

burdensome and wasteful of the parties’ and the court’s resources. However, fairness dictates the

defendants should be permitted to conduct enough discovery to support a motion to decertify the

conditionally certified class.”).


                                            ANALYSIS

        Defendant seeks to conduct full discovery of 179 opt-in plaintiffs, or one opt-in Plaintiff

from each retail location having employed an opt-in plaintiff. Defendant argues this discovery

proposal will allow it to determine whether opt-in plaintiffs are similarly situated across retail

locations. Plaintiff responds that “written discovery from 5% of the Collective and depositions of

10 Collective members will allow Defendant to obtain ample information while preserving the

FLSA’s goal of the efficient litigation of collective actions.”

        Courts have taken various approaches in determining the scope of permissible discovery

in conditionally certified collective actions. See Nelson, 2009 WL 4730166, at *3 (allowing

written discovery and depositions of 91 of 1,328 opt-in plaintiffs, or 6.85% of the class, with a

specified number of opt-ins for each location); Winkler, 2014 WL 12596498, at *4 (upholding a

magistrate order rejecting plaintiffs’ request to “arbitrarily limit discovery to less than 10% of the

opt-in plaintiffs–chosen without regard to which profit center each opt-in represents–in favor of a

more representative sampling of opt–in plaintiffs”); Goodman v Burlington Coat Factory

Warehouse Corp., 292 F.R.D. 230, 234 (D.N.J. 2013) (limiting depositions to 34 of 572 opt-in

plaintiffs, or 5% of the class, but noting that “plaintiffs can hardly be heard to complain about the

cost, burden and difficulties associated with defendants’ discovery when they chose to pursue an


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extensive class”); Cranney v. Carriage Servs., 2008 WL 2457912 (D. Nev. June 16, 2008)

(limiting the individualized discovery defendants could obtain from the plaintiffs to 10% of a

relevant combination of workers and work sites for the opt-in plaintiffs).

       As other courts have done, the Court will take a “middle approach” to Plaintiffs’ narrow

proposal and Defendant’s overbroad proposal. See Goodman, 292 F.R.D. at 233. The Court finds

that Defendant may depose 6.8% of the opt-in plaintiffs, or 25 opt-in plaintiffs, including the

named Plaintiffs. The Court orders the parties to meet and confer in a good faith effort to identify

a mutually acceptable relevant combination of workers and work sites for the 25 opt-in plaintiffs

Defendant may depose. See Cranney, 2008 WL 2457912, at * (D. Nev. June 16, 2008). Defendant

shall be limited to ten seven–hour depositions. The remaining depositions shall be limited to four

hours. See Goodman, 292 F.R.D. at 234 (stating that “after the first few depositions defendants

will have developed their ‘script’ and can focus on the most germane questioning to determine if

the workers in the class are similarly situated”). Plaintiffs will have the right to take an equal

number of depositions. Plaintiffs likewise may take ten seven–hour depositions. Plaintiffs

remaining depositions shall also be limited to four hours. Further, all opt-in plaintiffs who are

deposed must answer Defendant’s written discovery. Plaintiffs may serve an equal number of

written discovery requests upon Defendant. Any opt-in plaintiff who fails or refuses to participate

in discovery or deposition will not be dismissed from the lawsuit, but may be replaced by another

opt-in plaintiff selected by Defendant.

                                          CONCLUSION

       It is therefore ORDERED that Court is Belk Inc.’s Scheduling Proposal (Dkt. #74) and

Plaintiffs’ Notice of Filing Scheduling Report (Dkt. #76) are hereby GRANTED IN PART and




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    DENIED IN PART. The Court will enter a scheduling order consistent with the holding in this

    Memorandum Opinion and Order.

         SIGNED this 26th day of April, 2017.




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                                     AMOS L. MAZZANT
                                     UNITED STATES DISTRICT JUDGE




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